   Case: 1:22-cv-05072 Document #: 107 Filed: 10/08/24 Page 1 of 2 PageID #:1383




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 JACQUELINE STEVENS,                             )
                                                 )
                               Plaintiff,        )
                                                 )
                                                      No. 22 C 5072
                       v.                        )
                                                 )
                                                      Judge Kennelly
 UNITED STATES DEPARTMENT OF                     )
 HEALTH AND HUMAN SERVICES, et al.,              )
                                                 )
                               Defendants.       )

                      JOINT STATUS REPORT REGARDING EOIR

       At the court’s direction, the parties in this Freedom of Information Act case jointly submit

this status report regarding “the steps necessary to bring this case to a prompt conclusion with

respect to EOIR” (Dkt. 103).

       1.      Defendant Executive Office of Immigration Review has produced additional

documents in response to the court’s recent summary judgment ruling, and plaintiff Jacqueline

Stevens has reviewed that production.

       2.      The parties are currently negotiating whether any issues remain for the court to

decide with respect to EOIR.

       3.      The parties propose that they file another joint status report by October 29, 2024,

informing the court whether any issues require the court’s intervention.

       4.      If any issues do require the court’s intervention, the parties propose that they

present those issues to the court in some format other than cross-motions for summary judgment,

since EOIR has already been through two complete rounds of summary judgment motion practice

(including Local Rule 56.1 statements of fact on both sides, for two cycles). The parties expect

that they can probably distill any remaining issues for the court’s consideration in a digestible
   Case: 1:22-cv-05072 Document #: 107 Filed: 10/08/24 Page 2 of 2 PageID #:1384




manner, perhaps even in a joint filing. But the parties ask that they be allowed to make such a

proposal, if necessary, in the next joint status report.

                                                Respectfully submitted,

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                                                Acting United States Attorney

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